Case 1:05-cr-00004-MR-WCM   Document 46   Filed 11/28/05   Page 1 of 6
Case 1:05-cr-00004-MR-WCM   Document 46   Filed 11/28/05   Page 2 of 6
Case 1:05-cr-00004-MR-WCM   Document 46   Filed 11/28/05   Page 3 of 6
Case 1:05-cr-00004-MR-WCM   Document 46   Filed 11/28/05   Page 4 of 6
Case 1:05-cr-00004-MR-WCM   Document 46   Filed 11/28/05   Page 5 of 6
Case 1:05-cr-00004-MR-WCM   Document 46   Filed 11/28/05   Page 6 of 6
